Case 2:20-cv-07538-JAK-GJS Document 11 Filed 11/02/20 Page 1 of 1 Page ID #:107



                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES − GENERAL

 Case No.     2:20−cv−07538−JAK−GJS                  Date 11/2/2020
 Title        CARMEN JOHN PERRI V. L.D.R. RENTALS, L.P., ET AL

 Present    The Honorable JOHN A. KRONSTADT, UNITED STATES DISTRICT
            JUDGE

              Valencia Vallery                            Not Reported
               Deputy Clerk                         Court Reporter / Recorder


      Attorneys Present for Plaintiffs:         Attorneys Present for Defendants:
                Not Present                                Not Present


 Proceedings:        (IN CHAMBERS) ORDER DISMISSING CASE WITHOUT
                     PREJUDICE (JS-6)

 In light of the parties’ Notice of Settlement, the Court orders that this action is
 dismissed without prejudice. The Court retains jurisdiction to vacate this Order and
 to reopen the action within 45 days from the date of this Order, provided, however,
 any request by any party(ies) that the Court do so, shall make a showing of good
 cause as to why the settlement has not been completed within the 45-day period,
 what further settlement processes are necessary, and when the party(ies) making
 such a request reasonably expect the process to be concluded. This Order does
 not preclude the filing of a stipulation of dismissal with prejudice pursuant to Fed.
 R. Civ. P. 41, which does not require the approval of the Court. Such stipulation
 shall be filed within the aforementioned 45-day period, or by such later date
 ordered by the Court pursuant to a stipulation by the parties that conforms the
 requirements of a showing of good cause stated above.


                                                                                   :00
                                                             Initials of Preparer: vv




 CV−90                           − CIVIL MINUTES−GENERAL −                      Page 1 of 1
